 Case: 1:14-cv-01748 Document #: 2966 Filed: 04/12/19 Page 1 of 2 PageID #:76679




                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re: TESTERONE
REPLACEMENT THERAPY                                       MDL No. 2545
PRODUCTS LIABILITY LITIGATION
                                                          Master Docket Case No. 1:14-cv-01748
THIS DOCUMENT RELATES TO:
                                                          Honorable Matthew F. Kennelly
Elmer Jordan v. AbbVie Inc., et al.,
Case No. 1:15-cv-03346
James Reinsel v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-00089
Craig Howard v. AbbVie Inc., et al.,
Case No. 1:16-cv-01771
Everett Adams v. Auxilium Pharmaceuticals, LLC, et al.,
Case No. 1:15-cv-11404
Joseph Forestieri v. Auxilium Pharmaceuticals, LLC, et
al.,
Case No. 1:14-cv-10327
Estate of William Holland, v. AbbVie Inc., et al.,
Case No. 1:18-cv-03241
Gary Nash v. Auxilium Pharmaceuticals, LLC, et al.,
Case No. 1:16-cv-00731
Mark Petersen v. AbbVie Inc., et al.,
Case No. 1:16-cv-04909
Ted Porter v. Endo Pharmaceuticals Inc.,
Case No. 1:17-cv-03840
Ralph Richey v. AbbVie Inc., et al.,
Case No. 1:16-cv-11620
Donald Smith v. Auxilium Pharmaceuticals, LLC, et al.,
Case No. 1:15-cv-01340
Stuart and Susan Wein v. AbbVie Inc., et al.,
Case No. 1:15-cv-05672
Danny Bagwell v. AbbVie Inc., et al.,
Case No. 1:15-cv-11860
Ronnie Franklin v. AbbVie Inc., et al.,
Case No. 1:15-cv-00769
Frank Miles v. Eli Lilly and Company, et al.,
Case No. 1:15-cv-08581




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